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                                            U.S. Department of Justice


                                            United States Attorney
                                            District of New Jersey
                                            Special Prosecutions Division


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                                            Newark, NJ 07102

                                            September 10, 2020

The Honorable John M. Vazquez
United States District Judge
District of New Jersey
Frank Lautenberg U.S. Courthouse
& Post Office Building
Newark, New Jersey 07101

             Re:   United States v. Gicella Sanchez


Dear Judge Vazquez:

     This letter provides the parties’ joint response to the Court’s September 8,
2020 order regarding the plea hearing in the above-referenced case, currently
scheduled for September 29, 2020 at 12:00 p.m.

      Gicella Sanchez has consulted with counsel and agrees to proceed with
the plea hearing via videoconference. The parties submit that the plea hearing
cannot be further delayed without serious harm to the interests of justice for six
independent reasons:

            First, as Chief Judge Wolfson recognized in Standing Order 2020-
             06 and as this Court noted in its September 8, 2020 order, such
             proceedings cannot be conducted in person without seriously
             jeopardizing public health and safety;

            Second, conducting the plea hearing now will ensure that the Court
             is not overwhelmed by cases and proceedings at the conclusion of
             this period of emergency;

            Third, proceeding with the plea hearing will permit Ms. Sanchez to
             obtain a speedy resolution of her case through an admission of guilt;
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            Fourth, a timely plea hearing will enable victims of the offense the
             ability to obtain a speedy determination of guilt/responsibility for
             the harm caused to them and to obtain restitution for the crime
             committed against them;

            Fifth, conducting the plea hearing now will allow the Government
             to obtain a resolution of the case so that the Government, already
             operating in a restricted capacity due to the emergency, may
             appropriately focus its resources on other, emerging criminal
             matters; and

            Sixth, proceeding with the plea hearing will allow the Government
             to obtain a resolution before the running of the applicable statute of
             limitations.

      For all of the foregoing reasons, the parties jointly request that the Court
proceed with the plea hearing via videoconference on September 29, 2020 at
12:00 p.m.


                                             Respectfully submitted

                                             CRAIG CARPENITO
                                             United States Attorney

                                             /s/ Sean Farrell

                                        By: Sean Farrell
                                            Assistant United States Attorney

cc:   Daniel J. Welsh, Esq.
      Michele Roman, Supervisory U.S. Pretrial Services Officer




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